                       EXHIBIT A




Case 3:19-bk-01971   Doc 233-1 Filed 07/02/20 Entered 07/02/20 15:55:56   Desc
                      Exhibit Proof of Claim Page 1 of 33
 Fill in this information to identify the case:
                                                                                                                                  FILED
 Debtor 1 Capstone Pediatrics, PLLC                                                                                       U.S. Bankruptcy Court
                                                                                                                     MIDDLE DISTRICT OF TENNESSEE
 Debtor 2
 (Spouse, if filing)                                                                                                              6/11/2020
 United States Bankruptcy Court           MIDDLE DISTRICT OF TENNESSEE                                                    TERESA C. AZAN, Clerk
 Case number: 19−01971


Official Form 410
Proof of Claim                                                                                                                                     04/19

Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.

Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
explain in an attachment.

A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.


Part 1: Identify the Claim
1.Who is the current            UnitedHealthcare Insurance Company
  creditor?
                                Name of the current creditor (the person or entity to be paid for this claim)

                                Other names the creditor used with the debtor


2.Has this claim been                    No
  acquired from                          Yes. From whom?
  someone else?
3.Where should notices            Where should notices to the creditor be sent?                  Where should payments to the creditor be sent? (if
  and payments to the                                                                            different)
  creditor be sent?               UnitedHealthcare Insurance Company

  Federal Rule of                 Name                                                           Name
  Bankruptcy Procedure
  (FRBP) 2002(g)                  ATTN: CDM/Bankruptcy
                                  185 Asylum Street 03B
                                  Hartford, CT 06103


                                  Contact phone               8607027641                         Contact phone

                                  Contact email                                                  Contact email
                                           priya_muthu@uhc.com

                                  Uniform claim identifier for electronic payments in chapter 13 (if you use one):



4.Does this claim amend                  No
  one already filed?                     Yes. Claim number on court claims registry (if known)                         Filed on

                                                                                                                                  MM / DD / YYYY
5.Do you know if anyone                  No
  else has filed a proof                 Yes. Who made the earlier filing?
  of claim for this claim?
Official Form 410                                                      Proof of Claim                                                   page 1




          Case
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Part 2: Give Information About the Claim as of the Date the Case Was Filed
6.Do you have any                  No
  number you use to                Yes. Last 4 digits of the debtor's account or any number you use to identify the debtor:       1552
  identify the debtor?


7.How much is the             $      76648.41                       Does this amount include interest or other charges?
  claim?                                                              No
                                                                      Yes. Attach statement itemizing interest, fees, expenses, or
                                                                      other charges required by Bankruptcy Rule 3001(c)(2)(A).
8.What is the basis of        Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful
  the claim?                  death, or credit card. Attach redacted copies of any documents supporting the claim required by
                              Bankruptcy Rule 3001(c).
                              Limit disclosing information that is entitled to privacy, such as healthcare information.
                              Claims overpayments not reimbursed properly.


9. Is all or part of the          No
   claim secured?                 Yes. The claim is secured by a lien on property.
                                   Nature of property:
                                       Real estate. If the claim is secured by the debtor's principal residence, file a Mortgage
                                                      Proof of Claim Attachment (Official Form 410−A) with this Proof of Claim.
                                       Motor vehicle
                                       Other. Describe:


                                    Basis for perfection:

                                    Attach redacted copies of documents, if any, that show evidence of perfection of a security
                                    interest (for example, a mortgage, lien, certificate of title, financing statement, or other
                                    document that shows the lien has been filed or recorded.)

                                    Value of property:                        $

                                    Amount of the claim that is               $
                                    secured:
                                    Amount of the claim that is               $                                    (The sum of the secured and
                                    unsecured:                                                                     unsecured amounts should
                                                                                                                   match the amount in line 7.)


                                    Amount necessary to cure any default as of the                     $
                                    date of the petition:

                                    Annual Interest Rate (when case was filed)                                     %
                                          Fixed
                                          Variable
10.Is this claim based on           No
   a lease?                         Yes. Amount necessary to cure any default as of the date of the petition.$


11.Is this claim subject to        No
   a right of setoff?              Yes. Identify the property:




Official Form 410                                                Proof of Claim                                                page 2




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12.Is all or part of the claim            No
    entitled to priority under                                                                                                Amount entitled to priority
    11 U.S.C. § 507(a)?                   Yes. Check all that apply:
    A claim may be partly                   Domestic support obligations (including alimony and child support) $
    priority and partly                     under 11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).
    nonpriority. For example,
    in some categories, the                 Up to $3,025* of deposits toward purchase, lease, or rental of                    $
    law limits the amount                   property or services for personal, family, or household use. 11
    entitled to priority.                   U.S.C. § 507(a)(7).
                                            Wages, salaries, or commissions (up to $13,650*) earned within                    $
                                            180 days before the bankruptcy petition is filed or the debtor's
                                            business ends, whichever is earlier. 11 U.S.C. § 507(a)(4).
                                            Taxes or penalties owed to governmental units. 11 U.S.C. §                        $
                                            507(a)(8).
                                            Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5). $

                                            Other. Specify subsection of 11 U.S.C. § 507(a)( ) that applies                   $

                                         * Amounts are subject to adjustment on 4/1/22 and every 3 years after that for cases begun on or after the date
                                         of adjustment.

Part 3: Sign Below
 The person completing           Check the appropriate box:
 this proof of claim must
 sign and date it. FRBP                  I am the creditor.
 9011(b).
                                         I am the creditor's attorney or authorized agent.
 If you file this claim
 electronically, FRBP                    I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 5005(a)(2) authorizes courts
 to establish local rules                I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 specifying what a signature     I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating
 is.                             the amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a            I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fraudulent claim could be       and correct.
 fined up to $500,000,
 imprisoned for up to 5          I declare under penalty of perjury that the foregoing is true and correct.
 years, or both.
 18 U.S.C. §§ 152, 157 and
 3571.                           Executed on date                6/11/2020

                                                                 MM / DD / YYYY


                                 /s/ Priya Muthu

                                 Signature

                                 Print the name of the person who is completing and signing this claim:
                                 Name                                       Priya Muthu

                                                                           First name       Middle name         Last name
                                 Title                                      Legal Services Specialist

                                 Company                                    UnitedHealthcare Insurance Company

                                                                           Identify the corporate servicer as the company if the authorized agent is a
                                                                           servicer
                                 Address                                    185 Asylum St 03B

                                                                           Number Street
                                                                            Hartford, CT 06103

                                                                           City State ZIP Code
                                 Contact phone             8607027641                           Email         priya_muthu@uhc.com


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        Case
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                   June 11, 2020

Capstone Pediatrics, PLLC dba Centennial
Pediatrics                                                                                                                Reservation of Rights:
                                                                                        UnitedHealthcare Insurance Company (“United”) reserves its right to amend this claim to
                                                                                        further liquidate the amount of overpayment owed by the Debtor to United based on the
Chpt. 11 Bankruptcy                                                                                 results of United’s ongoing audit of claims submitted by the Debtor.
Filed: 3/28/2019 | Case No. 19-01971

                                                                         Amount of
                                                                                        Claim Audit
 Provider Tin             Provider Name      State    Date of Service   Claim Paid by                   Balance Due                         Collection Description
                                                                                          Amount
                                                                            UHC
                                                                                                                     Duplicate payment claim was originally paid on claim number
463431552       CAPSTONE PEDIATRICS         TN       2018                    $251.67          $251.67       $251.67  18J762355700 check number 2018101811301536 on 10/18/2018.
463431552       SMITH, TATANISHA P.         TN       2018                     $61.72           $61.72        $61.72  Member never had coverage for this date of service.
463431552       SMITH, TATANISHA P.         TN       2018                     $61.72           $61.72        $61.72  Member never had coverage for this date of service.
463431552       COLLIER, CORY B.            TN       2018                     $90.58           $90.58        $90.58  Member never had coverage for this date of service.
463431552       CAPSTONE PEDIATRICS         TN       2018                     $61.72           $61.72        $61.72  99213 on 18F244239300 bundles to Proc 99173 on 18F369907001
                                                                                                                     Corrected claim received and processed under claim 17J567822301
                                                                                                                     for $159.28 on 03/14/2018 with payment reference ID
463431552       TRACY D GREGORY NP          TN       2017                    $150.48          $150.48         $87.30 2018031410600111.
                                                                                                                     Claim paid on duplicate procedures 99214 87880 and 85025.
                                                                                                                     Procedures were correctly paid on claim 18E034300700 check
463431552       CAPSTONE PEDIATRICS         TN       2018                     $98.09           $98.09         $98.09 2018050213500488 dated 05/02/2018.

463431552       CAPSTONE PEDIATRICS         TN       2018                    $120.77          $120.77        $18.04   99383 on 18N192582200 bundles to Proc 99213 on 18N203267900
463431552       CAPSTONE PEDIATRICS         TN       2018                    $678.60          $678.60        $58.30   Claim paid to incorrect provider number.
463431552       CAPSTONE PEDIATRICS         TN       2018                     $55.55           $55.55        $55.55   Corrected claim received and processed.
463431552       CAPSTONE PEDIATRICS         TN       2018                    $195.63          $195.63       $195.63   Corrected claim received and processed.
463431552       CAPSTONE PEDIATRICS         TN       2018                    $327.60          $327.60       $327.60   Claim paid to incorrect provider number.
463431552       CAPSTONE PEDIATRICS         TN       2018                    $113.57          $113.57       $113.57   Corrected claim received and processed.
463431552       CAPSTONE PEDIATRICS         TN       2018                     $70.20           $70.20        $70.20   Provider billed in error; Incorrect admin code billed with serum
463431552       CAPSTONE PEDIATRICS         TN       2018                     $72.63           $72.63        $72.63   Corrected claim received and processed.
463431552       CAPSTONE PEDIATRICS         TN       2018                     $61.72           $61.72        $61.72   Corrected claim received and processed.
463431552       CAPSTONE PEDIATRICS         TN       2018                     $61.72           $61.72        $61.72   Corrected claim received and processed.
463431552       CAPSTONE PEDIATRICS         TN       2018                     $83.54           $83.54        $83.54   Claim paid to incorrect provider number.
463431552       CAPSTONE PEDIATRICS         TN       2018                     $46.80           $46.80        $46.80   Provider billed in error; Incorrect admin code billed with serum
463431552       CAPSTONE PEDIATRICS         TN       2018                     $61.72           $61.72        $61.72   Corrected claim received and processed.
463431552       CAPSTONE PEDIATRICS         TN       2018                     $65.37           $65.37        $65.37   Corrected claim received and processed.
463431552       CAPSTONE PEDIATRICS         TN       2018                    $134.63          $134.63       $134.63   Corrected claim received and processed.
463431552       CAPSTONE PEDIATRICS         TN       2018                     $11.25           $11.25        $11.25   Claim paid to incorrect provider number.
463431552       CAPSTONE PEDIATRICS         TN       2018                     $94.35           $94.35        $94.35   Claim paid to incorrect provider number.
463431552       CAPSTONE PEDIATRICS         TN       2018                     $61.72           $61.72        $61.72   Claim paid for services included in primary or global procedure.
463431552       CAPSTONE PEDIATRICS         TN       2018                    $150.48          $150.48       $150.48   Corrected claim received and processed.



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463431552   CAPSTONE PEDIATRICS        TN   2018            $42.61     $42.61    $42.61 Provider billed in error; Incorrect admin code billed with serum
463431552   CAPSTONE PEDIATRICS        TN   2018            $55.55     $55.55    $55.55 Corrected claim received and processed.
463431552   CAPSTONE PEDIATRICS        TN   2018            $55.55     $55.55    $55.55 Corrected claim received and processed.
                                                                                        Provider billed in error; The qualifying service or procedure has not
463431552   CAPSTONE PEDIATRICS        TN   2018           $129.24    $129.24   $129.24 been received
463431552   CAPSTONE PEDIATRICS        TN   2018            $90.58     $90.58    $90.58 Claim timely filing limit has been exceeded.
                                                                                        Provider billed in error; The qualifying service or procedure has not
463431552   CAPSTONE PEDIATRICS        TN   2018           $132.26    $132.26   $132.26 been received
463431552   CAPSTONE PEDIATRICS        TN   2018             $8.38      $8.38     $8.38 Corrected claim received and processed.
463431552   CAPSTONE PEDIATRICS        TN   2018            $89.53     $89.53    $89.53 Claim timely filing limit has been exceeded.
463431552   CAPSTONE PEDIATRICS        TN   2018            $89.53     $89.53    $89.53 Claim timely filing limit has been exceeded.
                                                                                        This claim was reconsidered by UnitedHealthcare medical benefits.
                                                                                        We are seeking the Healthcare Reimbursement payment of $96.69,
463431552   LISA S STORRS              TN   2017            $96.69     $96.69    $96.69 issued on 01/27/17 on check number PH 18759627.
463431552   CAPSTONE PEDIATRICS        TN   2017           $174.39    $174.39   $174.39 This patient is not a covered dependent under this member's policy.
                                                                                        Original claim 18A315273101 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $234.00    $234.00   $234.00 bill submitted on claim 18F640316100.
                                                                                        Original claim 18A996192901 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $315.90    $315.90   $315.90 bill submitted on claim 18F640240900.
                                                                                        Original claim 18B004569001 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $210.60    $210.60   $210.60 bill submitted on claim 18F639456300.
                                                                                        Original claim 18C575476000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $159.83    $159.83   $159.83 bill submitted on claim 18F623995200.
                                                                                        Original claim 18C687502800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $75.19     $75.19    $75.19 bill submitted on claim 18F632279600.
                                                                                        Original claim 18C688098700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $101.26    $101.26   $101.26 bill submitted on claim 18F623152601.
                                                                                        Original claim 18C709887600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $161.26    $161.26   $161.26 bill submitted on claim 18F620591000.
                                                                                        Original claim 18C710786900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $112.72    $112.72   $112.72 bill submitted on claim 18F620144600.
                                                                                        Original claim 18C710875400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $111.59    $111.59   $111.59 bill submitted on claim 18F625947501.
                                                                                        Original claim 18C711166500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $102.69    $102.69   $102.69 bill submitted on claim 18F624230200.
                                                                                        Original claim 18C711368100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $151.88    $151.88   $151.88 bill submitted on claim 18F624468100.
                                                                                        Original claim 18C712171500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $208.09    $208.09   $208.09 bill submitted on claim 18F621918101.
                                                                                        Original claim 18C715772900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $181.26    $181.26   $181.26 bill submitted on claim 18F637812000.
                                                                                        Original claim 18C802495700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $177.22    $177.22   $177.22 bill submitted on claim 18F621224500.
                                                                                        Original claim 18C802903400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $135.06    $135.06   $135.06 bill submitted on claim 18F619986501.
                                                                                        Original claim 18C804137600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $184.23    $184.23   $184.23 bill submitted on claim 18F621185601.
                                                                                        Original claim 18C804592000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $156.81    $156.81   $156.81 bill submitted on claim 18F623939000.
                                                                                        Original claim 18C808132600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $93.20     $93.20    $93.20 bill submitted on claim 18F640311800.



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                                                                                        Original claim 18C810705500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $66.43     $66.43    $66.43 bill submitted on claim 18F638285800.
                                                                                        Original claim 18C896506600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $126.18    $126.18   $126.18 bill submitted on claim 18F624252000.
                                                                                        Original claim 18C897897500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $196.30    $196.30   $196.30 bill submitted on claim 18F621114600.
                                                                                        Original claim 18C898152600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $198.97    $198.97   $198.97 bill submitted on claim 18F618749601.
                                                                                        Original claim 18C900737400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $86.80     $86.80    $86.80 bill submitted on claim 18F634977700.
                                                                                        Original claim 18C902938400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $124.38    $124.38   $124.38 bill submitted on claim 18F634887100.
                                                                                        Original claim 18C904643200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $108.96    $108.96   $108.96 bill submitted on claim 18F639506301.
                                                                                        Original claim 18C952089400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $143.41    $143.41   $143.41 bill submitted on claim 18F620013000.
                                                                                        Original claim 18C953677500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $112.51    $112.51   $112.51 bill submitted on claim 18F629834500.
                                                                                        Original claim 18C954061700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $86.80     $86.80    $86.80 bill submitted on claim 18F635485600.
                                                                                        Original claim 18C956602300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $59.79     $59.79    $59.79 bill submitted on claim 18F637874200.
                                                                                        Original claim 18C991365400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $133.57    $133.57   $133.57 bill submitted on claim 18F619148800.
                                                                                        Original claim 18D049173900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $146.18    $146.18   $146.18 bill submitted on claim 18F624206700.
                                                                                        Original claim 18D141806700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $133.57    $133.57   $133.57 bill submitted on claim 18F620503200.
                                                                                        Original claim 18D203118000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $128.44    $128.44   $128.44 bill submitted on claim 18F623173100.
                                                                                        Original claim 18D203126900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $113.57    $113.57   $113.57 bill submitted on claim 18F624605700.
                                                                                        Original claim 18D203145302 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $42.12     $42.12    $42.12 bill submitted on claim 18F640635300.
                                                                                        Original claim 17C706338000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2017            $95.45     $95.45    $95.45 bill submitted on claim 18F628538501.
                                                                                        Original claim 17C747198400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2017            $61.72     $61.72    $61.72 bill submitted on claim 18F639983000.
                                                                                        Original claim 17C969711400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2017            $36.82     $36.82    $36.82 bill submitted on claim 18F636912800.
                                                                                        Original claim 17D421563000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2017           $270.95    $270.95   $270.95 bill submitted on claim 18F618736400.
                                                                                        Original claim 17D922118100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2017            $55.55     $55.55    $55.55 bill submitted on claim 18F637592600.
                                                                                        Original claim 18C574394400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $117.41    $117.41   $117.41 bill submitted on claim 18F623263901.
                                                                                        Original claim 17A605553001 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2016           $106.72    $106.72   $106.72 bill submitted on claim 18F635076600.
                                                                                        Original claim 17C580735500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2017            $61.72     $61.72    $61.72 bill submitted on claim 18F640253401.




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                                                                                        Original claim 17C650913200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2017            $12.75     $12.75    $12.75 bill submitted on claim 18F628542501.
                                                                                        Original claim 18D203435700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $121.99    $121.99   $121.99 bill submitted on claim 18F626316900.
                                                                                        Original claim 18D203622600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $103.61    $103.61   $103.61 bill submitted on claim 18F634453400.
                                                                                        Original claim 18D203623100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $103.61    $103.61   $103.61 bill submitted on claim 18F632157700.
                                                                                        Original claim 18D207593800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $351.00    $351.00   $351.00 bill submitted on claim 18F639392800.
                                                                                        Original claim 18D216419100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $351.00    $351.00   $351.00 bill submitted on claim 18F637314600.
                                                                                        Original claim 18D216419800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $351.00    $351.00   $351.00 bill submitted on claim 18F637314600.
                                                                                        Original claim 18D255432300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $153.98    $153.98   $153.98 bill submitted on claim 18F623839400.
                                                                                        Original claim 18D261247900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $415.35    $415.35   $415.35 bill submitted on claim 18F637806700.
                                                                                        Original claim 18D335087400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $115.19    $115.19   $115.19 bill submitted on claim 18F621987300.
                                                                                        Original claim 18D336101300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $106.31    $106.31   $106.31 bill submitted on claim 18F622899200.
                                                                                        Original claim 18D336380500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $192.86    $192.86   $192.86 bill submitted on claim 18F620565300.
                                                                                        Original claim 18D392708200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $101.34    $101.34   $101.34 bill submitted on claim 18F622891200.
                                                                                        Original claim 18D393036100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $103.81    $103.81   $103.81 bill submitted on claim 18F629802400.
                                                                                        Original claim 18D393909600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $104.28    $104.28   $104.28 bill submitted on claim 18F627103600.
                                                                                        Original claim 18D396755300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $142.67    $142.67   $142.67 bill submitted on claim 18F622632200.
                                                                                        Original claim 18D400635000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $103.81    $103.81   $103.81 bill submitted on claim 18F622720900.
                                                                                        Original claim 18D465174700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $149.58    $149.58   $149.58 bill submitted on claim 18F619204900.
                                                                                        Original claim 18D465610200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $101.26    $101.26   $101.26 bill submitted on claim 18F626460801.
                                                                                        Original claim 18D466267800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $183.94    $183.94   $183.94 bill submitted on claim 18F621134500.
                                                                                        Original claim 18D470229000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $99.18     $99.18    $99.18 bill submitted on claim 18F635059400.
                                                                                        Original claim 18D471036600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $94.45     $94.45    $94.45 bill submitted on claim 18F632309000.
                                                                                        Original claim 18D532288000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $121.99    $121.99   $121.99 bill submitted on claim 18F627176000.
                                                                                        Original claim 18D658001900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $123.68    $123.68   $123.68 bill submitted on claim 18F620443600.
                                                                                        Original claim 18D662294000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $101.26    $101.26   $101.26 bill submitted on claim 18F629973100.




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                                                                                        Original claim 18D662361400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $103.61    $103.61   $103.61 bill submitted on claim 18F636869500.
                                                                                        Original claim 18D662504500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $57.79     $57.79    $57.79 bill submitted on claim 18F636760100.
                                                                                        Original claim 18D662923100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $59.79     $59.79    $59.79 bill submitted on claim 18F636251500.
                                                                                        Original claim 18D795950000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $112.51    $112.51   $112.51 bill submitted on claim 18F624983601.
                                                                                        Original claim 18D853107200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $88.68     $88.68    $88.68 bill submitted on claim 18F631012800.
                                                                                        Original claim 18D928858900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $176.70    $176.70   $176.70 bill submitted on claim 18F619357900.
                                                                                        Original claim 18D938322400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $59.79     $59.79    $59.79 bill submitted on claim 18F637094000.
                                                                                        Original claim 18D940146200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $55.56     $55.56    $55.56 bill submitted on claim 18F638022900.
                                                                                        Original claim 18D998348200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $55.56     $55.56    $55.56 bill submitted on claim 18F638049100.
                                                                                        Original claim 18E030923400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $70.88     $70.88    $70.88 bill submitted on claim 18F623113800.
                                                                                        Original claim 18E032566000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $104.28    $104.28   $104.28 bill submitted on claim 18F628118600.
                                                                                        Original claim 18E034082000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $73.63     $73.63    $73.63 bill submitted on claim 18F634757900.
                                                                                        Original claim 18E034687900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $228.96    $228.96   $228.96 bill submitted on claim 18F636233301.
                                                                                        Original claim 18E094493400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $149.58    $149.58   $149.58 bill submitted on claim 18F624280300.
                                                                                        Original claim 18E121380000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $86.80     $86.80    $86.80 bill submitted on claim 18F636770100.
                                                                                        Original claim 18E122053100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $86.80     $86.80    $86.80 bill submitted on claim 18F636293000.
                                                                                        Original claim 18E167069800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $149.58    $149.58   $149.58 bill submitted on claim 18F624290600.
                                                                                        Original claim 18E167273500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $103.61    $103.61   $103.61 bill submitted on claim 18F635081401.
                                                                                        Original claim 18E170287200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $66.43     $66.43    $66.43 bill submitted on claim 18F637560400.
                                                                                        Original claim 18E182623800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $149.58    $149.58   $149.58 bill submitted on claim 18F619269400.
                                                                                        Original claim 18E182636400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $163.14    $163.14   $163.14 bill submitted on claim 18F621195200.
                                                                                        Original claim 18E183314700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $128.55    $128.55   $128.55 bill submitted on claim 18F628360900.
                                                                                        Original claim 18E186657000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $103.61    $103.61   $103.61 bill submitted on claim 18F634830201.
                                                                                        Original claim 18E190714200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $66.43     $66.43    $66.43 bill submitted on claim 18F639934701.
                                                                                        Original claim 18F363832800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $82.45     $82.45    $82.45 bill submitted on claim 18F618797900.




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                                                                                        Original claim 18F363861500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $211.30    $211.30   $211.30 bill submitted on claim 18F618796400.
                                                                                        Original claim 18F363863400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $86.64     $86.64    $86.64 bill submitted on claim 18F618950000.
                                                                                        Original claim 18F363918900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $140.62    $140.62   $140.62 bill submitted on claim 18F621617400.
                                                                                        Original claim 18F363954500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $156.19    $156.19   $156.19 bill submitted on claim 18F621201901.
                                                                                        Original claim 18F363955500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $140.62    $140.62   $140.62 bill submitted on claim 18F621196100.
                                                                                        Original claim 18F364048800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $136.54    $136.54   $136.54 bill submitted on claim 18F619879200.
                                                                                        Original claim 18F364074900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $187.36    $187.36   $187.36 bill submitted on claim 18F620564600.
                                                                                        Original claim 18F364080400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $125.24    $125.24   $125.24 bill submitted on claim 18F620144600.
                                                                                        Original claim 18F364100000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $234.93    $234.93   $234.93 bill submitted on claim 18F621752500.
                                                                                        Original claim 18F364131200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $159.91    $159.91   $159.91 bill submitted on claim 18F620621500.
                                                                                        Original claim 18F364172400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $149.58    $149.58   $149.58 bill submitted on claim 18F618969300.
                                                                                        Original claim 18F364216200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $134.40    $134.40   $134.40 bill submitted on claim 18F620443600.
                                                                                        Original claim 18F364235800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $36.13     $36.13    $36.13 bill submitted on claim 18F618891500.
                                                                                        Original claim 18F364296000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $89.19     $89.19    $89.19 bill submitted on claim 18F618940000.
                                                                                        Original claim 18F364396300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $151.55    $151.55   $151.55 bill submitted on claim 18F621355000.
                                                                                        Original claim 18F364631500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $169.14    $169.14   $169.14 bill submitted on claim 18F620215600.
                                                                                        Original claim 18F364635100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $123.27    $123.27   $123.27 bill submitted on claim 18F619075300.
                                                                                        Original claim 18F364659500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $146.18    $146.18   $146.18 bill submitted on claim 18F620503200.
                                                                                        Original claim 18F364678900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $153.07    $153.07   $153.07 bill submitted on claim 18F619357900.
                                                                                        Original claim 18F364700700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $202.34    $202.34   $202.34 bill submitted on claim 18F619208500.
                                                                                        Original claim 18F364739900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $144.02    $144.02   $144.02 bill submitted on claim 18F620381300.
                                                                                        Original claim 18F364923800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $119.76    $119.76   $119.76 bill submitted on claim 18F619110000.
                                                                                        Original claim 18F364951200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $143.62    $143.62   $143.62 bill submitted on claim 18F620453000.
                                                                                        Original claim 18F365088500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $143.16    $143.16   $143.16 bill submitted on claim 18F621506400.
                                                                                        Original claim 18F365089700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $202.34    $202.34   $202.34 bill submitted on claim 18F621508200.




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                                                                                        Original claim 18F365341900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $142.15    $142.15   $142.15 bill submitted on claim 18F620056100.
                                                                                        Original claim 18F365392400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $126.19    $126.19   $126.19 bill submitted on claim 18F621133200.
                                                                                        Original claim 18F365445700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $142.65    $142.65   $142.65 bill submitted on claim 18F624137600.
                                                                                        Original claim 18F365467900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $194.23    $194.23   $194.23 bill submitted on claim 18F619225700.
                                                                                        Original claim 18F365505900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $149.78    $149.78   $149.78 bill submitted on claim 18F619209600.
                                                                                        Original claim 18F365583400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $140.74    $140.74   $140.74 bill submitted on claim 18F619134300.
                                                                                        Original claim 18F365598800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $134.72    $134.72   $134.72 bill submitted on claim 18F619265800.
                                                                                        Original claim 18F365639900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $156.26    $156.26   $156.26 bill submitted on claim 18F620565300.
                                                                                        Original claim 18F365744100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $162.57    $162.57   $162.57 bill submitted on claim 18F621195200.
                                                                                        Original claim 18F365871000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $153.35    $153.35   $153.35 bill submitted on claim 18F619416100.
                                                                                        Original claim 18F365873900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $39.84     $39.84    $39.84 bill submitted on claim 18F619408500.
                                                                                        Original claim 18F365999900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $154.82    $154.82   $154.82 bill submitted on claim 18F620924300.
                                                                                        Original claim 18D465643000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $119.42    $119.42   $119.42 bill submitted on claim 18F618847000.
                                                                                        Original claim 18F366316600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $41.44     $41.44    $41.44 bill submitted on claim 18F619482900.
                                                                                        Original claim 18F366389900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $38.04     $38.04    $38.04 bill submitted on claim 18F625499401.
                                                                                        Original claim 18F366416300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $123.44    $123.44   $123.44 bill submitted on claim 18F620124300.
                                                                                        Original claim 18F366481500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $186.40    $186.40   $186.40 bill submitted on claim 18F620715400.
                                                                                        Original claim 18F366489400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $117.32    $117.32   $117.32 bill submitted on claim 18F622899200.
                                                                                        Original claim 18F366516500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $140.62    $140.62   $140.62 bill submitted on claim 18F619877501.
                                                                                        Original claim 18F366666600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $123.27    $123.27   $123.27 bill submitted on claim 18F619146300.
                                                                                        Original claim 18F366667600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $146.18    $146.18   $146.18 bill submitted on claim 18F619148800.
                                                                                        Original claim 18F366725600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $146.18    $146.18   $146.18 bill submitted on claim 18F623226600.
                                                                                        Original claim 18F366726300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $42.75     $42.75    $42.75 bill submitted on claim 18F619130100.
                                                                                        Original claim 18F366747700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $151.95    $151.95   $151.95 bill submitted on claim 18F619129200.
                                                                                        Original claim 18F366798900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $138.91    $138.91   $138.91 bill submitted on claim 18F623290800.




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                                                                                        Original claim 18F366826500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $131.74    $131.74   $131.74 bill submitted on claim 18F622632200.
                                                                                        Original claim 18F367309500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $126.18    $126.18   $126.18 bill submitted on claim 18F624306901.
                                                                                        Original claim 18F367425500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $128.48    $128.48   $128.48 bill submitted on claim 18F622891200.
                                                                                        Original claim 18F367426200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $118.92    $118.92   $118.92 bill submitted on claim 18F624448800.
                                                                                        Original claim 18F367496400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $149.58    $149.58   $149.58 bill submitted on claim 18F618839000.
                                                                                        Original claim 18F367717600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $138.76    $138.76   $138.76 bill submitted on claim 18F6192099000.
                                                                                        Original claim 18F367725100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $125.43    $125.43   $125.43 bill submitted on claim 18F623407200.
                                                                                        Original claim 18F367912800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $211.30    $211.30   $211.30 bill submitted on claim 18F620729600.
                                                                                        Original claim 18F367950700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $117.22    $117.22   $117.22 bill submitted on claim 18F620885500.
                                                                                        Original claim 18F368223800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $137.72    $137.72   $137.72 bill submitted on claim 18F624075200.
                                                                                        Original claim 18F368245900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $95.55     $95.55    $95.55 bill submitted on claim 18F624230200.
                                                                                        Original claim 18F368300200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $146.18    $146.18   $146.18 bill submitted on claim 18F619063500.
                                                                                        Original claim 18F368418600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $137.11    $137.11   $137.11 bill submitted on claim 18F621278100.
                                                                                        Original claim 18F368422800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $146.18    $146.18   $146.18 bill submitted on claim 18F619212200.
                                                                                        Original claim 18F368423800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $138.91    $138.91   $138.91 bill submitted on claim 18F619214300.
                                                                                        Original claim 18F368532600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $41.44     $41.44    $41.44 bill submitted on claim 18F619269400.
                                                                                        Original claim 18F368779000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $104.65    $104.65   $104.65 bill submitted on claim 18F621201600.
                                                                                        Original claim 18F368808700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $109.60    $109.60   $109.60 bill submitted on claim 18F621929300.
                                                                                        Original claim 18F369376500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $146.18    $146.18   $146.18 bill submitted on claim 18F620952801.
                                                                                        Original claim 18F369381300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $115.06    $115.06   $115.06 bill submitted on claim 18F628118600.
                                                                                        Original claim 18F369561100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $13.33     $13.33    $13.33 bill submitted on claim 18F622813100.
                                                                                        Original claim 18F369590400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $123.96    $123.96   $123.96 bill submitted on claim 18F621905501.
                                                                                        Original claim 18F369592800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $65.79     $65.79    $65.79 bill submitted on claim 18F622677500.
                                                                                        Original claim 18F369648400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $115.06    $115.06   $115.06 bill submitted on claim 18F627103600.
                                                                                        Original claim 18F369789100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $100.04    $100.04   $100.04 bill submitted on claim 18F628441900.




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                                                                                        Original claim 18F369802100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $142.65    $142.65   $142.65 bill submitted on claim 18F620132900.
                                                                                        Original claim 18F369860600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $18.04     $18.04    $18.04 bill submitted on claim 18F624322900.
                                                                                        Original claim 18F370034000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $115.34    $115.34   $115.34 bill submitted on claim 18F629802400.
                                                                                        Original claim 18F370091400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $112.51    $112.51   $112.51 bill submitted on claim 18F629834500.
                                                                                        Original claim 18F370242500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $20.00     $20.00    $20.00 bill submitted on claim 18F625107500.
                                                                                        Original claim 18F370306000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $112.51    $112.51   $112.51 bill submitted on claim 18F627232200.
                                                                                        Original claim 18F370472000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $76.59     $76.59    $76.59 bill submitted on claim 18F624228700.
                                                                                        Original claim 18F370708000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $126.18    $126.18   $126.18 bill submitted on claim 18F621168500.
                                                                                        Original claim 18F370798000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $126.18    $126.18   $126.18 bill submitted on claim 18F622805100.
                                                                                        Original claim 18F370915500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $187.90    $187.90   $187.90 bill submitted on claim 18F620029300.
                                                                                        Original claim 18F371296700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $126.18    $126.18   $126.18 bill submitted on claim 18F622944800.
                                                                                        Original claim18F371881900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $123.61    $123.61   $123.61 bill submitted on claim 18F626740600.
                                                                                        Original claim 18F372054200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $18.04     $18.04    $18.04 bill submitted on claim 18F626015800.
                                                                                        Original claim 18F372167400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $140.68    $140.68   $140.68 bill submitted on claim 18F622972800.
                                                                                        Original claim 18F372620400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $85.64     $85.64    $85.64 bill submitted on claim 18F626701000.
                                                                                        Original claim 18F372914900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $180.97    $180.97   $180.97 bill submitted on claim 18F623995200.
                                                                                        Original claim 18F372977000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $119.25    $119.25   $119.25 bill submitted on claim 18F624074300.
                                                                                        Original claim 18F373443500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $112.51    $112.51   $112.51 bill submitted on claim 18F623129600.
                                                                                        Original claim 18F373512100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $112.51    $112.51   $112.51 bill submitted on claim 18F628291900.
                                                                                        Original claim 18F373565200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $107.80    $107.80   $107.80 bill submitted on claim 18F626225000.
                                                                                        Original claim 18F373667400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $121.47    $121.47   $121.47 bill submitted on claim 18F624605700.
                                                                                        Original claim 18F373860700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $95.45     $95.45    $95.45 bill submitted on claim 18F623114700.
                                                                                        Original claim 18F373923900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $52.35     $52.35    $52.35 bill submitted on claim 18F627339800.
                                                                                        Original claim 18F374257700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $63.52     $63.52    $63.52 bill submitted on claim 18F627604900.
                                                                                        Original claim 18F374277600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $115.34    $115.34   $115.34 bill submitted on claim 18F622720900.




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                                                                                      Original claim 18F374289400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $107.80    $107.80   $107.80 bill submitted on claim 18F626321200.
                                                                                      Original claim 18F374373100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $107.80    $107.80   $107.80 bill submitted on claim 18F629999800.
                                                                                      Original claim 18F374374300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $112.51    $112.51   $112.51 bill submitted on claim 18F629973100.
                                                                                      Original claim 18F374865100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $112.51    $112.51   $112.51 bill submitted on claim 18F622974800.
                                                                                      Original claim 18F374977800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $109.36    $109.36   $109.36 bill submitted on claim 18F631216100.
                                                                                      Original claim 18F375763400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $18.04     $18.04    $18.04 bill submitted on claim 18F627176000.
                                                                                      Original claim 18F376180100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $94.01     $94.01    $94.01 bill submitted on claim 18F634723900.
                                                                                      Original claim 18F376189300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $10.91     $10.91    $10.91 bill submitted on claim 18F632309000.
                                                                                      Original claim 18F376427200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $18.04     $18.04    $18.04 bill submitted on claim 18F631091500.
                                                                                      Original claim 18F376745100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $105.92    $105.92   $105.92 bill submitted on claim 18F627144301.
                                                                                      Original claim 18F376879900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $123.67    $123.67   $123.67 bill submitted on claim 18F634230000.
                                                                                      Original claim 18F377622900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $107.36    $107.36   $107.36 bill submitted on claim 18F634312500.
                                                                                      Original claim 18F377728000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $81.72     $81.72    $81.72 bill submitted on claim 18F631921300.
                                                                                      Original claim 18F377775100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $65.52     $65.52    $65.52 bill submitted on claim 18F627222800.
                                                                                      Original claim 18F378177200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $94.45     $94.45    $94.45 bill submitted on claim 18F631325000.
                                                                                      Original claim 18F378506100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $102.65    $102.65   $102.65 bill submitted on claim 18F635644400.
                                                                                      Original claim 18F378628900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $68.76     $68.76    $68.76 bill submitted on claim 18F626513400.
                                                                                      Original claim 18F378876700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $61.72     $61.72    $61.72 bill submitted on claim 18F631896400.
                                                                                      Original claim 18F378901600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $98.77     $98.77    $98.77 bill submitted on claim 18F633498600.
                                                                                      Original claim 18F379020500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $66.43     $66.43    $66.43 bill submitted on claim 18F637094000.
                                                                                      Original claim 18F379448500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $13.33     $13.33    $13.33 bill submitted on claim 18F636869500.
                                                                                      Original claim 18F379507100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $91.75     $91.75    $91.75 bill submitted on claim 18F639796900.
                                                                                      Original claim 18F379838000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $66.43     $66.43    $66.43 bill submitted on claim 18F636251500.
                                                                                      Original claim 18F379967100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $74.45     $74.45    $74.45 bill submitted on claim 18F635333700.
                                                                                      Original claim 18F379986200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $83.54     $83.54    $83.54 bill submitted on claim 18F632279600.




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                                                                                      Original claim 18F380014400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $67.43     $67.43    $67.43 bill submitted on claim 18F637806700.
                                                                                      Original claim 18F380054400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $61.73     $61.73    $61.73 bill submitted on claim 18F638049100.
                                                                                      Original claim 18F380307600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $96.45     $96.45    $96.45 bill submitted on claim 18F637230700.
                                                                                      Original claim 18F380322900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $96.45     $96.45    $96.45 bill submitted on claim 18F637247300.
                                                                                      Original claim 18F380333200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $145.62    $145.62   $145.62 bill submitted on claim 18F633092200.
                                                                                      Original claim 18F380944800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $96.45     $96.45    $96.45 bill submitted on claim 18F640373600.
                                                                                      Original claim 18F380945300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $66.43     $66.43    $66.43 bill submitted on claim 18F636758800.
                                                                                      Original claim 18F381010200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $67.43     $67.43    $67.43 bill submitted on claim 18F636435200.
                                                                                      Original claim 18F381228000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $67.43     $67.43    $67.43 bill submitted on claim 18F635495600.
                                                                                      Original claim 18F381882900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $96.45     $96.45    $96.45 bill submitted on claim 18F636770100.
                                                                                      Original claim 18F382021900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $36.82     $36.82    $36.82 bill submitted on claim 18F634507100.
                                                                                      Original claim 18F382484800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $201.41    $201.41   $201.41 bill submitted on claim 18F637812000.
                                                                                      Original claim 18F382657100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $9.42      $9.42     $9.42 bill submitted on claim 18F640141300.
                                                                                      Original claim 18F382712000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $66.43     $66.43    $66.43 bill submitted on claim 18F636372900.
                                                                                      Original claim 18F382718300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $96.45     $96.45    $96.45 bill submitted on claim 18F634977700.
                                                                                      Original claim 18F382788800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $61.72     $61.72    $61.72 bill submitted on claim 18F635082000.
                                                                                      Original claim 18F382839400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $67.43     $67.43    $67.43 bill submitted on claim 18F637575900.
                                                                                      Original claim 18F382927400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $67.43     $67.43    $67.43 bill submitted on claim 18F638085700.
                                                                                      Original claim 18F383051800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $138.21    $138.21   $138.21 bill submitted on claim 18F634887100.
                                                                                      Original claim 18F383247200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $67.43     $67.43    $67.43 bill submitted on claim 18F638603400.
                                                                                      Original claim 18F383295300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $67.43     $67.43    $67.43 bill submitted on claim 18F637959500.
                                                                                      Original claim 18F383467600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $66.43     $66.43    $66.43 bill submitted on claim 18F636372900.
                                                                                      Original claim 18G790822000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $61.72     $61.72    $61.72 bill submitted on claim 18F626513400.
                                                                                      Original claim 18G790899400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $78.45     $78.45    $78.45 bill submitted on claim 18F620715400.
                                                                                      Original claim 18G791036000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $43.98     $43.98    $43.98 bill submitted on claim 18F619209600.




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                                                                                      Original claim 18G791093700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $36.24     $36.24    $36.24 bill submitted on claim 18F620503200.
                                                                                      Original claim 18G791149600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $35.13     $35.13    $35.13 bill submitted on claim 18F619408500.
                                                                                      Original claim 18G791392800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $137.76    $137.76   $137.76 bill submitted on claim 18F619357900.
                                                                                      Original claim 18G791488100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $131.91    $131.91   $131.91 bill submitted on claim 18F637812000.
                                                                                      Original claim 18G791548000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $93.54     $93.54    $93.54 bill submitted on claim 18F624230200.
                                                                                      Original claim 18G791591600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $12.00     $12.00    $12.00 bill submitted on claim 18F623149401.
                                                                                      Original claim 18G791674500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $109.33    $109.33   $109.33 bill submitted on claim 18F620488200.
                                                                                      Original claim 18G825404300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $8.38      $8.38     $8.38 bill submitted on claim 18F619986501.
                                                                                      Original claim 18G830793600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $119.16    $119.16   $119.16 bill submitted on claim 18F625107500.
                                                                                      Original claim 18G840440400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $89.26     $89.26    $89.26 bill submitted on claim 18F635059400.
                                                                                      Original claim 17B653535801 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2017          $170.58    $170.58   $170.58 bill submitted on claim 18F633949600.
                                                                                      Original claim 17D319537501 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2017           $96.19     $96.19    $96.19 bill submitted on claim 18F638246300.
                                                                                      Original claim 18C574021600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $115.06    $115.06   $115.06 bill submitted on claim 18F626376100.
                                                                                      Original claim 18C574605300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $239.05    $239.05   $239.05 bill submitted on claim 18F618882400.
                                                                                      Original claim 18C690191300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $97.37     $97.37    $97.37 bill submitted on claim 18F636424600.
                                                                                      Original claim 18C802726800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $162.03    $162.03   $162.03 bill submitted on claim 18F620480000.
                                                                                      Original claim 18C804446601 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $112.31    $112.31   $112.31 bill submitted on claim 18F628532800.
                                                                                      Original claim 18C804463700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $108.36    $108.36   $108.36 bill submitted on claim 18F630812101.
                                                                                      Original claim 18C811645401 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $70.94     $70.94    $70.94 bill submitted on claim 18F638419700.
                                                                                      Original claim 18C896331801 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $118.45    $118.45   $118.45 bill submitted on claim 18F619197000.
                                                                                      Original claim 18C896945700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $163.75    $163.75   $163.75 bill submitted on claim 18F634259101.
                                                                                      Original claim 18C992763900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $168.60    $168.60   $168.60 bill submitted on claim 18F619384600.
                                                                                      Original claim 18D050705000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $163.47    $163.47   $163.47 bill submitted on claim 18F619842200.
                                                                                      Original claim 18D203035600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $152.55    $152.55   $152.55 bill submitted on claim 18F619160700.
                                                                                      Original claim 18D208764600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $351.00    $351.00   $351.00 bill submitted on claim 18F640399200.




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                                                                                      Original claim 18D208765600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $351.00    $351.00   $351.00 bill submitted on claim 18F640433600.
                                                                                      Original claim 18D255440200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $125.24    $125.24   $125.24 bill submitted on claim 18F622771800.
                                                                                      Original claim 18D394202900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $119.59    $119.59   $119.59 bill submitted on claim 18F628537700.
                                                                                      Original claim 18D465227900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $98.56     $98.56    $98.56 bill submitted on claim 18F625040401.
                                                                                      Original claim 18D465906400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $116.53    $116.53   $116.53 bill submitted on claim 18F628040701.
                                                                                      Original claim 18D469912400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $98.45     $98.45    $98.45 bill submitted on claim 18F627218101.
                                                                                      Original claim 18D534028600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $102.03    $102.03   $102.03 bill submitted on claim 18F634905500.
                                                                                      Original claim 18D535209500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $121.72    $121.72   $121.72 bill submitted on claim 18F371057701.
                                                                                      Original claim 18D609860400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $178.85    $178.85   $178.85 bill submitted on claim 18F621348400.
                                                                                      Original claim 18D657563700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $102.03    $102.03   $102.03 bill submitted on claim 18F633000601.
                                                                                      Original claim 18D659935000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $115.19    $115.19   $115.19 bill submitted on claim 18F621130701.
                                                                                      Original claim 18D793160200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $114.59    $114.59   $114.59 bill submitted on claim 18F622896700.
                                                                                      Original claim 18D862691800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $65.37     $65.37    $65.37 bill submitted on claim 18F638180901.
                                                                                      Original claim 18D930293000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $126.35    $126.35   $126.35 bill submitted on claim 18F621745500.
                                                                                      Original claim 18D931626500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $104.28    $104.28   $104.28 bill submitted on claim 18F622708400.
                                                                                      Original claim 18D990029700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $141.85    $141.85   $141.85 bill submitted on claim 18F622967100.
                                                                                      Original claim 18D990597300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $182.03    $182.03   $182.03 bill submitted on claim 18F622076400.
                                                                                      Original claim 18D994446700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $76.61     $76.61    $76.61 bill submitted on claim 18F632236900.
                                                                                      Original claim 18E095896800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $114.17    $114.17   $114.17 bill submitted on claim 18F624512500.
                                                                                      Original claim 18E169338900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $96.45     $96.45    $96.45 bill submitted on claim 18F638866301.
                                                                                      Original claim 18E182515700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $128.10    $128.10   $128.10 bill submitted on claim 18F622049800.
                                                                                      Original claim 18F363854300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $168.50    $168.50   $168.50 bill submitted on claim 18F618750800.
                                                                                      Original claim 18F363944200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $131.73    $131.73   $131.73 bill submitted on claim 18F621204100.
                                                                                      Original claim 18F363995400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $141.76    $141.76   $141.76 bill submitted on claim 18F621246800.
                                                                                      Original claim 18F364068000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $135.31    $135.31   $135.31 bill submitted on claim 18F621709201.




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                                                                                      Original claim 18F364093500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $128.12    $128.12   $128.12 bill submitted on claim 18F621745500.
                                                                                      Original claim 18F364154300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $131.50    $131.50   $131.50 bill submitted on claim 18F619700300.
                                                                                      Original claim 18F364155800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $243.22    $243.22   $243.22 bill submitted on claim 18F618882400.
                                                                                      Original claim 18F364238600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $1.55      $1.55     $1.55 bill submitted on claim 18F620034300.
                                                                                      Original claim 18F364424500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $125.43    $125.43   $125.43 bill submitted on claim 18F619160700.
                                                                                      Original claim 18F364474600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $126.12    $126.12   $126.12 bill submitted on claim 18F623076700.
                                                                                      Original claim 18F364534900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $27.03     $27.03    $27.03 bill submitted on claim 18F619384600.
                                                                                      Original claim 18F364673000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $135.31    $135.31   $135.31 bill submitted on claim 18F619350900.
                                                                                      Original claim 18F364690800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $125.43    $125.43   $125.43 bill submitted on claim 18F624202900.
                                                                                      Original claim 18F364746800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $125.43    $125.43   $125.43 bill submitted on claim 18F620556201.
                                                                                      Original claim 18F364789200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $68.60     $68.60    $68.60 bill submitted on claim 18F619302800.
                                                                                      Original claim 18F365002400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $125.43    $125.43   $125.43 bill submitted on claim 18F619154300.
                                                                                      Original claim 18F365803100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $162.31    $162.31   $162.31 bill submitted on claim 18F622967100.
                                                                                      Original claim 18F365826800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $91.09     $91.09    $91.09 bill submitted on claim 18F619251500.
                                                                                      Original claim 18F366307500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $135.31    $135.31   $135.31 bill submitted on claim 18F619482300.
                                                                                      Original claim 18F366323300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $125.43    $125.43   $125.43 bill submitted on claim 18F621180200.
                                                                                      Original claim 18F366443300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $141.76    $141.76   $141.76 bill submitted on claim 18F619842200.
                                                                                      Original claim 18F366813600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $1.55      $1.55     $1.55 bill submitted on claim 18F619197000.
                                                                                      Original claim 18F366930900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $139.50    $139.50   $139.50 bill submitted on claim 18F619034700.
                                                                                      Original claim 18F367810100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $165.37    $165.37   $165.37 bill submitted on claim 18F621767101.
                                                                                      Original claim 18F368164200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $30.66     $30.66    $30.66 bill submitted on claim 18F624115200.
                                                                                      Original claim 18F368906600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $175.70    $175.70   $175.70 bill submitted on claim 18F621334100.
                                                                                      Original claim 18F369495300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $13.33     $13.33    $13.33 bill submitted on claim 18F624855500.
                                                                                      Original claim 18F369710400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $115.06    $115.06   $115.06 bill submitted on claim 18F628384000.
                                                                                      Original claim 18F370139500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $177.91    $177.91   $177.91 bill submitted on claim 18F621136800.




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                                                                                      Original claim 18F370417300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $20.59     $20.59    $20.59 bill submitted on claim 18F624095500.
                                                                                      Original claim 18F372468600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $113.98    $113.98   $113.98 bill submitted on claim 18F628222901.
                                                                                      Original claim 18F372660600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $116.10    $116.10   $116.10 bill submitted on claim 18F622999300.
                                                                                      Original claim 18F373481700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $115.06    $115.06   $115.06 bill submitted on claim 18G791590300.
                                                                                      Original claim 18F373668500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $126.18    $126.18   $126.18 bill submitted on claim 18F626119900.
                                                                                      Original claim 18F373704500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $108.71    $108.71   $108.71 bill submitted on claim 18F625040401.
                                                                                      Original claim 18F373906200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $123.78    $123.78   $123.78 bill submitted on claim 18F622750800.
                                                                                      Original claim 18F374038900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $23.40     $23.40    $23.40 bill submitted on claim 18F622080601.
                                                                                      Original claim 18F374896800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $72.63     $72.63    $72.63 bill submitted on claim 18F626979701.
                                                                                      Original claim 18F375065000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $1.55      $1.55     $1.55 bill submitted on claim 18F631319400.
                                                                                      Original claim 18F375169100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $125.62    $125.62   $125.62 bill submitted on claim 18F624512500.
                                                                                      Original claim 18F376823400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $23.40     $23.40    $23.40 bill submitted on claim 18F626968100.
                                                                                      Original claim 18F376833000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $85.12     $85.12    $85.12 bill submitted on claim 18F632236900.
                                                                                      Original claim 18F377883100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $96.03     $96.03    $96.03 bill submitted on claim 18F631027600.
                                                                                      Original claim 18F378186300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $83.54     $83.54    $83.54 bill submitted on claim 18F635392300.
                                                                                      Original claim 18F378304800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $83.54     $83.54    $83.54 bill submitted on claim 18F634327600.
                                                                                      Original claim 18F379985300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $61.74     $61.74    $61.74 bill submitted on claim 18F635280300.
                                                                                      Original claim 18F380395300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $83.54     $83.54    $83.54 bill submitted on claim 18F631376101.
                                                                                      Original claim 18F380854300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $1.55      $1.55     $1.55 bill submitted on claim 18F635407800.
                                                                                      Original claim 18F381962000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $108.19    $108.19   $108.19 bill submitted on claim 18F636424600.
                                                                                      Original claim 18F619160700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $113.61    $113.61   $113.61 bill submitted on claim 18G790873500.
                                                                                      Original claim 18G790881700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $57.17     $57.17    $57.17 bill submitted on claim 18F619251500.
                                                                                      Original claim 18G790994800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $0.02      $0.02     $0.02 bill submitted on claim 18F635280300.
                                                                                      Original claim 18G791094300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $113.48    $113.48   $113.48 bill submitted on claim 18F626456700.
                                                                                      Original claim 18G791159700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $55.55     $55.55    $55.55 bill submitted on claim 18F638180901.




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                                                                                      Original claim 18G791335400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $9.82      $9.82     $9.82 bill submitted on claim 18F626979701.
                                                                                      Original claim 18G818610500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $7.54      $7.54     $7.54 bill submitted on claim 18F619034700.
                                                                                      Original claim 18G819011400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $29.71     $29.71    $29.71 bill submitted on claim 18F619842200.
                                                                                      Original claim 18G820737400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $8.38      $8.38     $8.38 bill submitted on claim18F618723301.
                                                                                      Original claim 18G822754500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $8.48      $8.48     $8.48 bill submitted on claim 18F622967100.
                                                                                      Original claim 18G826718100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $108.05    $108.05   $108.05 bill submitted on claim 18F624095500.
                                                                                      Original claim 18G827174900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $90.28     $90.28    $90.28 bill submitted on claim 18F624558500.
                                                                                      Original claim 18G829920600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $7.54      $7.54     $7.54 bill submitted on claim 18F622999300.
                                                                                      Original claim 18G834873400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $93.10     $93.10    $93.10 bill submitted on claim 18F627218101.
                                                                                      Original claim 18K891722500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $2.78      $2.78     $2.78 bill submitted on claim 18F635407800.
                                                                                      Original claim 18C576690900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $95.74     $95.74    $95.74 bill submitted on claim 18G791537400.
                                                                                      Original claim 18C711139700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $156.58    $156.58   $156.58 bill submitted on claim 18G790859800.
                                                                                      Original claim 18C896741200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $109.99    $109.99   $109.99 bill submitted on claim 18G834694200.
                                                                                      Original claim 18C952365700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $83.81     $83.81    $83.81 bill submitted on claim 18G790958500.
                                                                                      Original claim 18C993129401 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $119.59    $119.59   $119.59 bill submitted on claim 18F620707300.
                                                                                      Original claim 18D051143100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $151.07    $151.07   $151.07 bill submitted on claim 18G822764200.
                                                                                      Original claim 18D782562801 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $116.52    $116.52   $116.52 bill submitted on claim 18F630808000.
                                                                                      Original claim 18D931904800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $124.96    $124.96   $124.96 bill submitted on claim 18F628541000.
                                                                                      Original claim 18F363880600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $134.84    $134.84   $134.84 bill submitted on claim 18F621831100.
                                                                                      Original claim 18F364084400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $119.59    $119.59   $119.59 bill submitted on claim 18F618758200.
                                                                                      Original claim 18F364159300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $123.78    $123.78   $123.78 bill submitted on claim 18F619701800.
                                                                                      Original claim 18F364317200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $219.36    $219.36   $219.36 bill submitted on claim 18F619414400.
                                                                                      Original claim 18F364398700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $144.95    $144.95   $144.95 bill submitted on claim 18F620841600.
                                                                                      Original claim 18f364990200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $100.62    $100.62   $100.62 bill submitted on claim 18F619155200.
                                                                                      Original claim 18F365838400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $75.87     $75.87    $75.87 bill submitted on claim 18F619267700.




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                                                                                      Original claim 18F366104100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2017          $161.78    $161.78   $161.78 bill submitted on claim 18F625642000.
                                                                                      Original claim 18f366268600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $117.32    $117.32   $117.32 bill submitted on claim 18F619016301.
                                                                                      Original claim 18F366810900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $119.59    $119.59   $119.59 bill submitted on claim 18F619190000.
                                                                                      Original claim 18F366869500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $148.74    $148.74   $148.74 bill submitted on claim 18F624644500.
                                                                                      Original claim 18F366930000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $140.73    $140.73   $140.73 bill submitted on claim 18F619022700.
                                                                                      Original claim 18F366956200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $119.59    $119.59   $119.59 bill submitted on claim 18F621704200.
                                                                                      Original claim 18F366967500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $149.58    $149.58   $149.58 bill submitted on claim 18F621697701.
                                                                                      Original claim 18F367165700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $181.31    $181.31   $181.31 bill submitted on claim 18F621104300.
                                                                                      Original claim 18F367240700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $111.09    $111.09   $111.09 bill submitted on claim 18F621172600.
                                                                                      Original claim 18F367245300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $108.14    $108.14   $108.14 bill submitted on claim 18F621873200.
                                                                                      Original claim 18F367481200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $123.78    $123.78   $123.78 bill submitted on claim 18F620800600.
                                                                                      Original claim 18F367500300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $125.43    $125.43   $125.43 bill submitted on claim 18F627311800.
                                                                                      Original claim 18F367710600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $123.78    $123.78   $123.78 bill submitted on claim 18F619199300.
                                                                                      Original claim 18F367956700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $119.59    $119.59   $119.59 bill submitted on claim 18F619238600.
                                                                                      Original claim 18F367981900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $30.66     $30.66    $30.66 bill submitted on claim 18F620747800.
                                                                                      Original claim 18F367988000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $123.78    $123.78   $123.78 bill submitted on claim 18F620782400.
                                                                                      Original claim 18F368067000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $116.19    $116.19   $116.19 bill submitted on claim 18F624390900.
                                                                                      Original claim 18F368432300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $30.66     $30.66    $30.66 bill submitted on claim 18F619195800.
                                                                                      Original claim 18F368485200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $133.39    $133.39   $133.39 bill submitted on claim 18F624356200.
                                                                                      Original claim 18F368544900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $115.40    $115.40   $115.40 bill submitted on claim 18F621345500.
                                                                                      Original claim 18F369340000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2017          $116.52    $116.52   $116.52 bill submitted on claim 18F628119800.
                                                                                      Original claim 18F369373900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $30.66     $30.66    $30.66 bill submitted on claim 18F620964500.
                                                                                      Original claim 18F369715100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $113.12    $113.12   $113.12 bill submitted on claim 18F626450400.
                                                                                      Original claim 18F369748700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $119.59    $119.59   $119.59 bill submitted on claim 18F625830600.
                                                                                      Original claim 18F370358300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $123.78    $123.78   $123.78 bill submitted on claim 18F629495600.




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                                                                                      Original claim 18F370564200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $72.46     $72.46    $72.46 bill submitted on claim 18F621113600.
                                                                                      Original claim 18F371992100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $136.36    $136.36   $136.36 bill submitted on claim 18F628794800.
                                                                                      Original claim 18F372131200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $23.40     $23.40    $23.40 bill submitted on claim 18F627249200.
                                                                                      Original claim 18F372245300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $108.14    $108.14   $108.14 bill submitted on claim 18F628045800.
                                                                                      Original claim 18F374287000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $109.94    $109.94   $109.94 bill submitted on claim 18F626375100.
                                                                                      Original claim 18F374288300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $108.71    $108.71   $108.71 bill submitted on claim 18F622747500.
                                                                                      Original claim 18F374763900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $115.06    $115.06   $115.06 bill submitted on claim 18F625018400.
                                                                                      Original claim 18F375053400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $165.63    $165.63   $165.63 bill submitted on claim 18F634040500.
                                                                                      Original claim 18F376009000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $117.33    $117.33   $117.33 bill submitted on claim 18F628539701.
                                                                                      Original claim 18F377274200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $22.15     $22.15    $22.15 bill submitted on claim 18F626847700.
                                                                                      Original claim 18F377351700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $98.54     $98.54    $98.54 bill submitted on claim 18F636797600.
                                                                                      Original claim 18F377765200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $83.54     $83.54    $83.54 bill submitted on claim 18F635057200.
                                                                                      Original claim 18F378834000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $93.12     $93.12    $93.12 bill submitted on claim 18F632019500.
                                                                                      Original claim 18F378835000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $84.62     $84.62    $84.62 bill submitted on claim 18F635075800.
                                                                                      Original claim 18F379134600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $81.72     $81.72    $81.72 bill submitted on claim 18F636925600.
                                                                                      Original claim 18F379741000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $93.12     $93.12    $93.12 bill submitted on claim 18F635231700.
                                                                                      Original claim 18F379756200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $96.19     $96.19    $96.19 bill submitted on claim 18F633647900.
                                                                                      Original claim 18F380301800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $98.54     $98.54    $98.54 bill submitted on claim 18F633780300.
                                                                                      Original claim 18F380323000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $99.24     $99.24    $99.24 bill submitted on claim 18F633065700.
                                                                                      Original claim 18F381388900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $83.54     $83.54    $83.54 bill submitted on claim 18F634380100.
                                                                                      Original claim 18F381602100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $70.94     $70.94    $70.94 bill submitted on claim 18F637843100.
                                                                                      Original claim 18F382288600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $96.45     $96.45    $96.45 bill submitted on claim 18F637965000.
                                                                                      Original claim 18F382509600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $88.93     $88.93    $88.93 bill submitted on claim 18F639524500.
                                                                                      Original claim 18F382651200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $88.93     $88.93    $88.93 bill submitted on claim 18F640101200.
                                                                                      Original claim 18F382654700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $98.54     $98.54    $98.54 bill submitted on claim 18F640127800.




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                                                                                      Original claim 18F383051400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $98.54     $98.54    $98.54 bill submitted on claim 18F640697200.
                                                                                      Original claim 18F384594500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $61.72     $61.72    $61.72 bill submitted on claim 18F639512100.
                                                                                      Original claim 18G791046300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $9.17      $9.17     $9.17 bill submitted on claim 18G791046300
                                                                                      Original claim 17H773443201 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2017          $123.80    $123.80   $123.80 bill submitted on claim 18F638268400.
                                                                                      Original claim 18C804184300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $156.81    $156.81   $156.81 bill submitted on claim 18G791397800.
                                                                                      Original claim 18D049050600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $113.61    $113.61   $113.61 bill submitted on claim 18F623096900.
                                                                                      Original claim 18D344948900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $92.55     $92.55    $92.55 bill submitted on claim 18F635064500.
                                                                                      Original claim 18D396540900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $127.17    $127.17   $127.17 bill submitted on claim 18F619393000.
                                                                                      Original claim 18D467512000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $154.11    $154.11   $154.11 bill submitted on claim 18F621781801.
                                                                                      Original claim 18D535071200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $119.81    $119.81   $119.81 bill submitted on claim 18F621175901.
                                                                                      Original claim 18D793657200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $125.43    $125.43   $125.43 bill submitted on claim 18F626231401.
                                                                                      Original claim 18D798481100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $98.56     $98.56    $98.56 bill submitted on claim 18F623046800.
                                                                                      Original claim 18D850476700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $183.82    $183.82   $183.82 bill submitted on claim 18F624464300.
                                                                                      Original claim 18D851595900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $99.81     $99.81    $99.81 bill submitted on claim 18F630094301.
                                                                                      Original claim 18D937723700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $83.76     $83.76    $83.76 bill submitted on claim 18G791148900.
                                                                                      Original claim 18D937770200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $137.07    $137.07   $137.07 bill submitted on claim 18F633971000.
                                                                                      Original claim 18D989883900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $124.53    $124.53   $124.53 bill submitted on claim 18F621221200.
                                                                                      Original claim 18E033094400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $92.55     $92.55    $92.55 bill submitted on claim 18F632720301.
                                                                                      Original claim 18E092865800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $155.34    $155.34   $155.34 bill submitted on claim 18F619654300.
                                                                                      Original claim 18E102311800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $106.22    $106.22   $106.22 bill submitted on claim 18F627539700.
                                                                                      Original claim 18E166999200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $103.47    $103.47   $103.47 bill submitted on claim 18F622635500.
                                                                                      Original claim 18E185233400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $104.13    $104.13   $104.13 bill submitted on claim 18F631110400.
                                                                                      Original claim 18F363823800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $153.35    $153.35   $153.35 bill submitted on claim 18F619654300.
                                                                                      Original claim 18F365275700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $130.36    $130.36   $130.36 bill submitted on claim 18F619393000.
                                                                                      Original claim 18F365577200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $130.37    $130.37   $130.37 bill submitted on claim 18F624388301.




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                                                                                      Original claim 18F366403100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $50.34     $50.34    $50.34 bill submitted on claim 18F622791900.
                                                                                      Original claim 18F366511200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $124.52    $124.52   $124.52 bill submitted on claim 18F622136701.
                                                                                      Original claim 18F366543700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $36.07     $36.07    $36.07 bill submitted on claim 18F619217300.
                                                                                      Original claim 18F366943900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $174.23    $174.23   $174.23 bill submitted on claim 18F622815200.
                                                                                      Original claim 18F366977000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $181.04    $181.04   $181.04 bill submitted on claim 18F621701400.
                                                                                      Original claim 18F367608600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $149.02    $149.02   $149.02 bill submitted on claim 18F621221200.
                                                                                      Original claim 18F368144100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $204.25    $204.25   $204.25 bill submitted on claim 18F624464300.
                                                                                      Original claim 18F368791700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $116.06    $116.06   $116.06 bill submitted on claim 18F625351700.
                                                                                      Original claim 18F369410000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $136.88    $136.88   $136.88 bill submitted on claim 18F628101901.
                                                                                      Original claim 18F369557100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $136.88    $136.88   $136.88 bill submitted on claim 18F623096900.
                                                                                      Original claim 18F370213200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $108.71    $108.71   $108.71 bill submitted on claim 18F624021401.
                                                                                      Original claim 18F370561700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $109.29    $109.29   $109.29 bill submitted on claim 18F623059701.
                                                                                      Original claim 18F371341500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $125.62    $125.62   $125.62 bill submitted on claim 18F622635500.
                                                                                      Original claim 18F372055500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $174.23    $174.23   $174.23 bill submitted on claim 18F621290300.
                                                                                      Original claim 18F372403300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $106.22    $106.22   $106.22 bill submitted on claim 18F630884200.
                                                                                      Original claim 18F372666700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $108.71    $108.71   $108.71 bill submitted on claim 18F623046800.
                                                                                      Original claim 18F373661500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $109.29    $109.29   $109.29 bill submitted on claim 18F626382500.
                                                                                      Original claim 18F374056700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $121.18    $121.18   $121.18 bill submitted on claim 18F623184600.
                                                                                      Original claim 18F374056800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $109.29    $109.29   $109.29 bill submitted on claim 18F626196500.
                                                                                      Original claim 18F374409700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $115.06    $115.06   $115.06 bill submitted on claim 18F623090001.
                                                                                      Original claim 18F375155100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $112.51    $112.51   $112.51 bill submitted on claim 18F628682201.
                                                                                      Original claim 18F376411800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $106.22    $106.22   $106.22 bill submitted on claim 18F626475200.
                                                                                      Original claim 18F376699900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $108.36    $108.36   $108.36 bill submitted on claim 18F626809300.
                                                                                      Original claim 18F633971000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $152.30    $152.30   $152.30 bill submitted on claim 18F633971000.
                                                                                      Original claim 18F379036500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $68.34     $68.34    $68.34 bill submitted on claim 18F638268400.




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                                                                                      Original claim 18F379609800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $106.22    $106.22   $106.22 bill submitted on claim 18F634838000.
                                                                                      Original claim 18F379693900is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $106.22    $106.22   $106.22 bill submitted on claim 18F635064500.
                                                                                      Original claim 18F381063300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $93.07     $93.07    $93.07 bill submitted on claim 18F634365500.
                                                                                      Original claim 18G791631200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $3.77      $3.77     $3.77 bill submitted on claim 18F626196500.
                                                                                      Original claim 18G821216000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $119.81    $119.81   $119.81 bill submitted on claim 18F619217300.
                                                                                      Original claim 18G822363800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $8.38      $8.38     $8.38 bill submitted on claim 18F620511200.
                                                                                      Original claim 18G827533800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $35.58     $35.58    $35.58 bill submitted on claim 18F628101901.
                                                                                      Original claim 18G837415400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $7.54      $7.54     $7.54 bill submitted on claim 18F635064500.
                                                                                      Original claim 18G839068600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $7.54      $7.54     $7.54 bill submitted on claim 18F632720301.
                                                                                      Original claim 18G839832200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $7.54      $7.54     $7.54 bill submitted on claim 18F634838000.
                                                                                      Original claim 17C648338101 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2017          $114.17    $114.17   $114.17 bill submitted on claim 18F622669600.
                                                                                      Original claim 17D599286100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2017           $61.72     $61.72    $61.72 bill submitted on claim 18F638327500.
                                                                                      Original claim 18B437340901 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2017           $92.55     $92.55    $92.55 bill submitted on claim 18F631019500.
                                                                                      Original claim 18B688471000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $92.55     $92.55    $92.55 bill submitted on claim 18F636451000.
                                                                                      Original claim 18B930909900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $102.03    $102.03   $102.03 bill submitted on claim 18F640317200.
                                                                                      Original claim 18C717971700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $90.58     $90.58    $90.58 bill submitted on claim 18F640017100.
                                                                                      Original claim 18C810627200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $63.85     $63.85    $63.85 bill submitted on claim 18F637406900.
                                                                                      Original claim 18C896741900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $94.45     $94.45    $94.45 bill submitted on claim 18F633631700
                                                                                      Original claim 18C901190200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $109.36    $109.36   $109.36 bill submitted on claim 18F620923500.
                                                                                      Original claim 18C992105200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $129.29    $129.29   $129.29 bill submitted on claim 18F624257700.
                                                                                      Original claim 18C992548000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $119.81    $119.81   $119.81 bill submitted on claim 18F622138400.
                                                                                      Original claim 18D050555200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $117.22    $117.22   $117.22 bill submitted on claim 18F622138400.
                                                                                      Original claim 18D139136400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $104.29    $104.29   $104.29 bill submitted on claim 18F626686701.
                                                                                      Original claim 18D140772200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $160.50    $160.50   $160.50 bill submitted on claim 18F620753101.
                                                                                      Original claim 18D141897100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $99.81     $99.81    $99.81 bill submitted on claim 18F628110100.




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                                                                                      Original claim 18D202618200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $148.10    $148.10   $148.10 bill submitted on claim 18F634176001.
                                                                                      Original claim 18D210101300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $315.90    $315.90   $315.90 bill submitted on claim 18F641859600.
                                                                                      Original claim 18D253287800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $104.28    $104.28   $104.28 bill submitted on claim 18F623159201.
                                                                                      Original claim 18D258151500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $99.81     $99.81    $99.81 bill submitted on claim 18F626395201.
                                                                                      Original claim 18D403376400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $66.43     $66.43    $66.43 bill submitted on claim 18F636716700.
                                                                                      Original claim 18D464975300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $266.88    $266.88   $266.88 bill submitted on claim 18F619666400.
                                                                                      Original claim 18D465628800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $138.85    $138.85   $138.85 bill submitted on claim 18F625223400.
                                                                                      Original claim 18D610067100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $96.32     $96.32    $96.32 bill submitted on claim 18F629654101.
                                                                                      Original claim 18D615247601 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $73.63     $73.63    $73.63 bill submitted on claim 18F631684400.
                                                                                      Original claim 18D660741100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $99.81     $99.81    $99.81 bill submitted on claim 18F628385001.
                                                                                      Original claim 18D784510400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $124.53    $124.53   $124.53 bill submitted on claim 18F622014700.
                                                                                      Original claim 18D797383900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $113.98    $113.98   $113.98 bill submitted on claim 18F634465800.
                                                                                      Original claim 18D797455800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $85.01     $85.01    $85.01 bill submitted on claim 18F625621700.
                                                                                      Original claim 18D931517500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $163.00    $163.00   $163.00 bill submitted on claim 18F621203900.
                                                                                      Original claim 18D936883500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $73.63     $73.63    $73.63 bill submitted on claim 18F634629001.
                                                                                      Original claim 18D941305100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $61.73     $61.73    $61.73 bill submitted on claim 18F636539300.
                                                                                      Original claim 18E029189400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $104.29    $104.29   $104.29 bill submitted on claim 18F621136000.
                                                                                      Original claim 18E182654300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $125.03    $125.03   $125.03 bill submitted on claim 18F624019900.
                                                                                      Original claim 18E183927000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $101.26    $101.26   $101.26 bill submitted on claim 18F627309001.
                                                                                      Original claim 18E185208801 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $96.32     $96.32    $96.32 bill submitted on claim 18F634984600.
                                                                                      Original claim 18E187453100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $73.63     $73.63    $73.63 bill submitted on claim 18F633217400.
                                                                                      Original claim 18F363848000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $149.02    $149.02   $149.02 bill submitted on claim 18F618742500.
                                                                                      Original claim 18F363874100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $138.47    $138.47   $138.47 bill submitted on claim 18F618753100.
                                                                                      Original claim 18F363932800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $134.95    $134.95   $134.95 bill submitted on claim 18F621627600.
                                                                                      Original claim 18F363977600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $174.90    $174.90   $174.90 bill submitted on claim 18F620485200.




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                                                                                      Original claim 18F363997700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $157.12    $157.12   $157.12 bill submitted on claim 18F619823700.
                                                                                      Original claim 18F364134800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $166.80    $166.80   $166.80 bill submitted on claim 18F618849300.
                                                                                      Original claim 18F364160800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $139.14    $139.14   $139.14 bill submitted on claim 18F619709000
                                                                                      Original claim 18F364485200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $140.20    $140.20   $140.20 bill submitted on claim 18F620906300.
                                                                                      Original claim 18F365282500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $140.73    $140.73   $140.73 bill submitted on claim 18F619387901.
                                                                                      Original claim 18F365311300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $132.69    $132.69   $132.69 bill submitted on claim 18F621173800.
                                                                                      Original claim 18F365435500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $111.55    $111.55   $111.55 bill submitted on claim 18F619948600.
                                                                                      Original claim 18F365563400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $143.94    $143.94   $143.94 bill submitted on claim 18F619100000.
                                                                                      Original claim 18F365585800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $136.88    $136.88   $136.88 bill submitted on claim 18F621474300.
                                                                                      Original claim 18F366315700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $165.25    $165.25   $165.25 bill submitted on claim 18F619487701.
                                                                                      Original claim 18F366374900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $112.82    $112.82   $112.82 bill submitted on claim 18F625557900.
                                                                                      Original claim 18F366386100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $15.13     $15.13    $15.13 bill submitted on claim 18F619181000.
                                                                                      Original claim 18F366428700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $129.29    $129.29   $129.29 bill submitted on claim 18F622805300.
                                                                                      Original claim 18F366493100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $132.34    $132.34   $132.34 bill submitted on claim 18F620713000.
                                                                                      Original claim 18F367771400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $132.69    $132.69   $132.69 bill submitted on claim 18F624344500.
                                                                                      Original claim 18F367919500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $59.05     $59.05    $59.05 bill submitted on claim 18F620423700.
                                                                                      Original claim 18F368143300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $138.91    $138.91   $138.91 bill submitted on claim 18F624019900.
                                                                                      Original claim 18F368243700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $119.25    $119.25   $119.25 bill submitted on claim 18F624241901.
                                                                                      Original claim 18F368374300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $121.43    $121.43   $121.43 bill submitted on claim 18F624181800.
                                                                                      Original claim 18F368893400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $149.02    $149.02   $149.02 bill submitted on claim 18F622014700.
                                                                                      Original claim 18F368894300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $129.29    $129.29   $129.29 bill submitted on claim 18F621311000.
                                                                                      Original claim 18F369757700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $129.29    $129.29   $129.29 bill submitted on claim 18F622034700.
                                                                                      Original claim 18F369879900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $99.16     $99.16    $99.16 bill submitted on claim 18F626584600.
                                                                                      Original claim 18F369882300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $117.33    $117.33   $117.33 bill submitted on claim 18G791160400.
                                                                                      Original claim 18F370164900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $115.07    $115.07   $115.07 bill submitted on claim 18F621136000.




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                                                                                      Original claim 18F370534100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $112.51    $112.51   $112.51 bill submitted on claim 18F622988900.
                                                                                      Original claim 18F370536700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $14.52     $14.52    $14.52 bill submitted on claim 18F628713600.
                                                                                      Original claim 18F372587100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $109.29    $109.29   $109.29 bill submitted on claim 18F628110100.
                                                                                      Original claim 18F372897200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $109.30    $109.30   $109.30 bill submitted on claim 18F623991400.
                                                                                      Original claim 18F373451600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $112.51    $112.51   $112.51 bill submitted on claim 18F623134400.
                                                                                      Original claim 18F374761900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $109.29    $109.29   $109.29 bill submitted on claim 18F624976300.
                                                                                      Original claim 18F375636100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $108.71    $108.71   $108.71 bill submitted on claim 18F629862700.
                                                                                      Original claim 18F376284800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $59.72     $59.72    $59.72 bill submitted on claim 18F625223400.
                                                                                      Original claim 18F376413300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $107.80    $107.80   $107.80 bill submitted on claim 18F627627800.
                                                                                      Original claim 18F376821800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $94.45     $94.45    $94.45 bill submitted on claim 18F625621700.
                                                                                      Original claim 18F377608800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $73.69     $73.69    $73.69 bill submitted on claim 18F634971700.
                                                                                      Original claim 18F377746000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $72.64     $72.64    $72.64 bill submitted on claim 18F634164201.
                                                                                      Original claim 18F379494500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $8.81      $8.81     $8.81 bill submitted on claim 18F630230200.
                                                                                      Original claim 18F379748800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $101.16    $101.16   $101.16 bill submitted on claim 18F632118200.
                                                                                      Original claim 18F379808000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $67.43     $67.43    $67.43 bill submitted on claim 18F638276400.
                                                                                      Original claim 18F380004300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $73.63     $73.63    $73.63 bill submitted on claim 18F635510400.
                                                                                      Original claim 18F380147800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $66.43     $66.43    $66.43 bill submitted on claim 18F637112700.
                                                                                      Original claim 18F380358700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $106.22    $106.22   $106.22 bill submitted on claim 18F634984600.
                                                                                      Original claim 18F380462600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $14.52     $14.52    $14.52 bill submitted on claim 18F635230800.
                                                                                      Original claim 18F381653000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $106.22    $106.22   $106.22 bill submitted on claim 18F630159500.
                                                                                      Original claim 18F381915100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $1.55      $1.55     $1.55 bill submitted on claim 18F636804600.
                                                                                      Original claim 18F382147800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $10.91     $10.91    $10.91 bill submitted on claim 18F635313100.
                                                                                      Original claim 18F382192600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $73.20     $73.20    $73.20 bill submitted on claim 18F638270800.
                                                                                      Original claim 18F382241900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $83.54     $83.54    $83.54 bill submitted on claim 18F636227400.
                                                                                      Original claim 18F382384900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $10.91     $10.91    $10.91 bill submitted on claim 18F637322600.




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                                                                                      Original claim 18F382454600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $7.26      $7.26     $7.26 bill submitted on claim 18F636451000.
                                                                                      Original claim 18F382554200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $7.26      $7.26     $7.26 bill submitted on claim 18F637165500.
                                                                                      Original claim 18F382637700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $67.43     $67.43    $67.43 bill submitted on claim 18F637727600.
                                                                                      Original claim 18F382717700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $11.70     $11.70    $11.70 bill submitted on claim 18F641859600.
                                                                                      Original claim 18F382790500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $72.63     $72.63    $72.63 bill submitted on claim 18F637610401.
                                                                                      Original claim 18F383053400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $7.26      $7.26     $7.26 bill submitted on claim 18F640332801.
                                                                                      Original claim 18F384366200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $70.94     $70.94    $70.94 bill submitted on claim 18F637406900.
                                                                                      Original claim 18G791327000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $97.02     $97.02    $97.02 bill submitted on claim 18F622798800.
                                                                                      Original claim 18F375119800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $70.87     $70.87    $70.87 bill submitted on claim 18F628624500.
                                                                                      Original claim 18D657767700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $167.30    $167.30   $167.30 bill submitted on claim 18F619297700.
                                                                                      Original claim 18D849119800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $112.13    $112.13   $112.13 bill submitted on claim 18F622999400.
                                                                                      Original claim 18E035259100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $83.81     $83.81    $83.81 bill submitted on claim 18F633360200.
                                                                                      Original claim 18E072268800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $116.52    $116.52   $116.52 bill submitted on claim 18F624760800.
                                                                                      Original claim 18E168238800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $103.61    $103.61   $103.61 bill submitted on claim 18F634199200.
                                                                                      Original claim 18F364127000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $160.60    $160.60   $160.60 bill submitted on claim 18F364127000.
                                                                                      Original claim 18F364390900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $225.03    $225.03   $225.03 bill submitted on claim 18F364390900.
                                                                                      Original claim 18F364927200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $160.60    $160.60   $160.60 bill submitted on claim 18F622575600.
                                                                                      Original claim 18F368105700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $119.59    $119.59   $119.59 bill submitted on claim 18F619297700.
                                                                                      Original claim 18F370914200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $113.12    $113.12   $113.12 bill submitted on claim 18F626493000.
                                                                                      Original claim 18F371265600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $129.67    $129.67   $129.67 bill submitted on claim 18F622874000.
                                                                                      Original claim 18F376721000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $98.54     $98.54    $98.54 bill submitted on claim 18F628579100.
                                                                                      Original claim 18F377480900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $121.52    $121.52   $121.52 bill submitted on claim 18F634499700.
                                                                                      Original claim 18F379374100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $98.54     $98.54    $98.54 bill submitted on claim 18F635579600.
                                                                                      Original claim 18F380517300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $129.75    $129.75   $129.75 bill submitted on claim 18F635448500.
                                                                                      Original claim 18F380569800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $116.06    $116.06   $116.06 bill submitted on claim 18F635484200.




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                                                                                      Original claim 18F380946600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $88.93     $88.93    $88.93 bill submitted on claim 18F636717500.
                                                                                      Original claim 18F381270400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $13.33     $13.33    $13.33 bill submitted on claim 18F634199200.
                                                                                      Original claim 18F381961900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $88.93     $88.93    $88.93 bill submitted on claim 18F635599700.
                                                                                      Original claim 18F634597800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $88.93     $88.93    $88.93 bill submitted on claim 18F634597800.
                                                                                      Original claim 18F382395300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $116.06    $116.06   $116.06 bill submitted on claim 18F632548200.
                                                                                      Original claim 18F382478700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $93.12     $93.12    $93.12 bill submitted on claim 18F633360201
                                                                                      Original claim 18F383050800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $88.93     $88.93    $88.93 bill submitted on claim 18F637094300.
                                                                                      Original claim 18G790802900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $69.00     $69.00    $69.00 bill submitted on claim 18F622575600.
                                                                                      Original claim 18G791433400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $20.48     $20.48    $20.48 bill submitted on claim 18F622874000.
                                                                                      Original claim 18G791572700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $12.00     $12.00    $12.00 bill submitted on claim 18F632548200.
                                                                                      Original claim 18G791626300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $28.32     $28.32    $28.32 bill submitted on claim 18F619297700.
                                                                                      Original claim 18G791653000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $146.62    $146.62   $146.62 bill submitted on claim 18F625784700.
                                                                                      Original claim 18F637475400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $80.04     $80.04    $80.04 bill submitted on claim 18F637475400
                                                                                      Original claim 18G818444600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $8.48      $8.48     $8.48 bill submitted on claim 18F620529200.
                                                                                      Original claim 18G820382100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $69.00     $69.00    $69.00 bill submitted on claim 18F619683100.
                                                                                      Original claim 18G832663200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $88.68     $88.68    $88.68 bill submitted on claim 18F628579100.
                                                                                      Original claim 18G844885700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $80.04     $80.04    $80.04 bill submitted on claim 18G844885700.
                                                                                      Original claim 18F638579501 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $88.68     $88.68    $88.68 bill submitted on claim 18F638579501.
                                                                                      Original claim 18G845897700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $80.04     $80.04    $80.04 bill submitted on claim 18F637094300.
                                                                                      Original claim 18D928842401 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $8.38      $8.38     $8.38 bill submitted on claim 18F621685200.
                                                                                      Original claim 18F363835400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $211.30    $211.30   $211.30 bill submitted on claim 18F618786600.
                                                                                      Original claim 18F364039900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $134.93    $134.93   $134.93 bill submitted on claim 18F621685200.
                                                                                      Original claim 18F364656700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $125.43    $125.43   $125.43 bill submitted on claim 18F624209300 .
                                                                                      Original claim 18F369319600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $23.40     $23.40    $23.40 bill submitted on claim 18F623258400 .
                                                                                      Original claim 18F377004800 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $20.00     $20.00    $20.00 bill submitted on claim 18F627080500.




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                                                                                      Original claim 18F379625700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $60.22     $60.22    $60.22 bill submitted on claim 18D663525501 .
                                                                                      Original claim 17C782515200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2017           $36.82     $36.82    $36.82 bill submitted on claim 18F640593900.
                                                                                      Original claim 17C957743500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2017           $61.72     $61.72    $61.72 bill submitted on claim 18F637637700.
                                                                                      Original claim 18C573442500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $101.84    $101.84   $101.84 bill submitted on claim 18F621329500.
                                                                                      Original claim 18C716703300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $59.79     $59.79    $59.79 bill submitted on claim 18F638282900.
                                                                                      Original claim 18C802807700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $103.47    $103.47   $103.47 bill submitted on claim 18F623904100.
                                                                                      Original claim 18C809891400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $56.55     $56.55    $56.55 bill submitted on claim 18F632515000.
                                                                                      Original claim 18C811305600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $59.79     $59.79    $59.79 bill submitted on claim 18F635322000.
                                                                                      Original claim 18C903491700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $96.45     $96.45    $96.45 bill submitted on claim 18F641811700.
                                                                                      Original claim 18D048525200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $93.54     $93.54    $93.54 bill submitted on claim 18F621271500.
                                                                                      Original claim 18D141624000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $102.03    $102.03   $102.03 bill submitted on claim 18F633936501.
                                                                                      Original claim 18D524484500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $92.55     $92.55    $92.55 bill submitted on claim 18F636890300.
                                                                                      Original claim 18D805132400 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $83.56     $83.56    $83.56 bill submitted on claim 18F637095501.
                                                                                      Original claim 18D939709900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $72.63     $72.63    $72.63 bill submitted on claim 18F635600800.
                                                                                      Original claim 18D992153901 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $7.26      $7.26     $7.26 bill submitted on claim 18F628468300.
                                                                                      Original claim 18F364243600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $1.55      $1.55     $1.55 bill submitted on claim 18F620033900.
                                                                                      Original claim 18F367262500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $2.81      $2.81     $2.81 bill submitted on claim 18F624275700.
                                                                                      Original claim 18C802807700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $118.36    $118.36   $118.36 bill submitted on claim 18F623904100.
                                                                                      Original claim 18F367977200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $93.54     $93.54    $93.54 bill submitted on claim 18F621271500.
                                                                                      Original claim 18F368036900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018          $111.55    $111.55   $111.55 bill submitted on claim 18F621329500.
                                                                                      Original claim 18F370980700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018            $1.55      $1.55     $1.55 bill submitted on claim 18F370980700.
                                                                                      Original claim 18F374115500 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $52.46     $52.46    $52.46 bill submitted on claim 18F631255900 .
                                                                                      Original claim 18F375125000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $14.52     $14.52    $14.52 bill submitted on claim 18F626625400.
                                                                                      Original claim 18F377452700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $23.40     $23.40    $23.40 bill submitted on claim 18F626827300.
                                                                                      Original claim 18F377574000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS       TN   2018           $62.72     $62.72    $62.72 bill submitted on claim 18F632515000.




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                                                                                       Original claim 18F378187200 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018          $106.22    $106.22   $106.22 bill submitted on claim 18F636890300.
                                                                                       Original claim 18F381727900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $66.43     $66.43    $66.43 bill submitted on claim 18F638282900.
                                                                                       Original claim 18F382551000 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $96.45     $96.45    $96.45 bill submitted on claim 18F641811700.
                                                                                       Original claim 18F382984300 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $66.43     $66.43    $66.43 bill submitted on claim 18F635322000.
463431552   CAPSTONE PEDIATRICS        TN   2018           $34.52     $34.52    $34.52 Voided claim 18F628468300 billed and paid in error.
                                                                                       Original claim 18G791072100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $7.26      $7.26     $7.26 bill submitted on claim 18F626625400.
                                                                                       Original claim 18G791243900 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $21.33     $21.33    $21.33 bill submitted on claim 18F370980700.
                                                                                       Original claim 18G791577700 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $98.56     $98.56    $98.56 bill submitted on claim 18F624940300.
                                                                                       Original claim 18G826517100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $7.54      $7.54     $7.54 bill submitted on claim 18F623904100.
                                                                                       Original claim 18G829876100 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018           $34.52     $34.52    $34.52 bill submitted on claim 18F628468300.
                                                                                       Original claim 18G840280600 is an overpayment due to the voided
463431552   CAPSTONE PEDIATRICS        TN   2018            $8.38      $8.38     $8.38 bill submitted on claim 18F633936501.
                                                                                       Member had primary coverage through other carrier for this date of
463431552   RODERICK I BAHNER MD       TN   2018           $91.74     $91.74    $91.74 service. Please submit claim to primary carrier for reimbursement.
463431552   CAPSTONE PEDIATRICS        TN   2018           $58.57     $58.57    $58.57 Incorrect contract rate applied.
                                                                                       Member had primary coverage through other carrier for this date of
463431552   CAPSTONE PEDIATRICS        TN   2018          $124.53    $124.53   $124.53 service. Please submit claim to primary carrier for reimbursement.
                                                                                       Member had primary coverage through other carrier for this date of
463431552   CAPSTONE PEDIATRICS        TN   2018          $124.53    $124.53   $124.53 service. Please submit claim to primary carrier for reimbursement.
                                                                                       Member had primary coverage through other carrier for this date of
463431552   CAPSTONE PEDIATRICS        TN   2018           $25.13     $25.13    $25.13 service. Please submit claim to primary carrier for reimbursement.
                                                                                       These services were also allowed on claim number 18D609860400
463431552   CAPSTONE PEDIATRICS        TN   2018          $162.25    $162.25   $162.25 processed 04/20/2018 with check number 2018042011300041.
                                                                                       These services were also allowed on claim number 18D140649600
463431552   CAPSTONE PEDIATRICS        TN   2018           $69.00     $69.00    $69.00 processed 04/11/2018 with check number 2018041110600185.
                                                                                       Procedure code 99213 included in payment for procedure code
463431552   GARY GRIFFIETH MD          TN   2019           $61.72     $61.72    $61.72 96372 on claim number 19B008852100
                                                                                       Procedure code 99213 included in payment for procedure code
463431552   GARY GRIFFIETH MD          TN   2019           $61.72     $61.72    $61.72 96372 on claim number 19B011967000
                                                                                       CPT 92551, 96110, and 99173 also allowed on claim number
                                                                                       18F370177800 processed 06/08/2018 with check number
463431552   CAPSTONE PEDIATRICS        TN   2018           $20.59     $20.59    $20.59 2018060814200143.
                                                                                       Our records indicate that this member never had active coverage
463431552   CAPSTONE PEDIATRICS        TN   2018           $33.14     $33.14    $33.14 under this policy.
                                                                                       Our records indicate that this member never had active coverage
463431552   CAPSTONE PEDIATRICS        TN   2018            $4.19      $4.19     $4.19 under this policy.
                                                                                       Our records indicate that this member never had active coverage
463431552   CAPSTONE PEDIATRICS        TN   2018          $105.10    $105.10   $105.10 under this policy.
                                                                                       Our records indicate that this member never had active coverage
463431552   CAPSTONE PEDIATRICS        TN   2018           $55.55     $55.55    $55.55 under this policy.
                                                                                       Our records indicate that this member never had active coverage
463431552   CAPSTONE PEDIATRICS        TN   2018          $130.31    $130.31   $130.31 under this policy.



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                                                                                                Our records indicate that this member never had active coverage
463431552   CAPSTONE PEDIATRICS           TN    2018       $164.62         $164.62      $164.62 under this policy.
                                                                                                Our records indicate that this member never had active coverage
463431552   CAPSTONE PEDIATRICS           TN    2018        $55.55          $55.55       $55.55 under this policy.
                                                                                                Our records indicate that this member never had active coverage
463431552   CAPSTONE PEDIATRICS           TN    2017        $65.37          $65.37       $65.37 under this policy.
                                                                                                Our records indicate that this member never had active coverage
463431552   CAPSTONE PEDIATRICS           TN    2017        $97.60          $97.60       $97.60 under this policy.
                                                                                                Our records indicate that this member never had active coverage
463431552   CAPSTONE PEDIATRICS           TN    2017       $131.45         $131.45      $131.45 under this policy.
                                                                                                Our records indicate that this member never had active coverage
463431552   CAPSTONE PEDIATRICS           TN    2017        $61.72          $61.72       $61.72 under this policy.
                                                                                                Our records indicate that this member never had active coverage
463431552   CAPSTONE PEDIATRICS           TN    2017        $91.74          $91.74       $91.74 under this policy.
                                                                                                Our records indicate that this member never had active coverage
463431552   CAPSTONE PEDIATRICS           TN    2017        $91.45          $91.45       $91.45 under this policy.
                                                                                                Our records indicate that this member never had active coverage
463431552   CAPSTONE PEDIATRICS           TN    2018        $82.56          $82.56       $82.56 under this policy.
                                                                                                Our records indicate that this member never had active coverage
463431552   CAPSTONE PEDIATRICS           TN    2018        $55.55          $55.55       $55.55 under this policy.
                                                                                                Our records indicate that this member never had active coverage
463431552   CAPSTONE PEDIATRICS           TN    2017       $166.39         $166.39      $166.39 under this policy.
463431552   CAPSTONE PEDIATRICS           TN    2016       $964.17         $964.17      $964.17 Maximum Units exceeded
463431552   CRISTA M FEDORA NP            TN    2017        $43.49           $1.03        $1.03 Adjustment based on a Recovery Audit.
                                                                                                Our records indicate that this member never had active coverage
463431552   PADMAJAVANI V VEERAMACHANENI M TN   2018       $114.17         $114.17      $114.17 under this policy.
463431552   CAPSTONE PEDIATRICS            TN   2018        $61.72           $8.15        $8.15 Adjustment due to receipt of ref check
                                                                                                Our records indicate that this member never had active coverage
463431552   PADMAJAVANI V VEERAMACHANENI M TN   2018        $61.72          $61.72       $61.72 under this policy.
463431552   TRACY D GREGORY NP             TN   2018        $20.31           $9.20        $9.20 Adjustment based on a Recovery Audit.
463431552   RODERICK I BAHNER MD           TN   2018        $36.82          $11.00       $11.00 Claim paid for services included in primary or global procedure.
463431552   CAPSTONE PEDIATRICS            TN   2018         $8.15           $8.15        $8.15 Adjustment based on a Recovery Audit.
463431552   CORY B COLLIER MD              TN   2018        $61.72          $61.72       $61.72 Services provided after members termination date of 09/30/2018
463431552   ERICA L OMONDI NP              TN   2019        $55.55          $55.55       $55.55 Services provided after members termination date of 09/30/2018
463431552   CAPSTONE PEDIATRICS            TN   2019        $91.74           $5.27        $5.27 Adjustment due to receipt of ref check




                                                       Total Balance Due             $76,648.41




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